           Case 20-66657-pmb                            Doc 1        Filed 05/26/20 Entered 05/26/20 14:37:37                                 Desc
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Argern                                                                                            2B20 MM 26 PM 2: 33
                            District of
                                          (State)
 Case number (If known):                                         Chapter                                                               0 Check if this is an
                                                                                                                                         amended filing




Official Form 201
                                   20-66657
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                                   7p/et                            eg oic /74( 00.S(                   LI. G

 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                  g- / _17 7'
    Identification Number (EIN)



 4. Debtor's address                            Principal place of business                                   Mailing address, if different from principal place
                                                                                                              of business

                                                    )_‘1 ewards-
                                                Number          Street                                        Number      Street


                                                                                                              P.O. Box

                                               Mabkloq,
                                                City
                                                                             .64 30o4
                                                                                  State     ZIP Code          City                        State       ZIP Code

                                                                                                              Location of principal assets, if different from

                                                    Cobi,
                                                County
                                                                                                              principal place of business


                                                                                                              Number      Street




                                                                                                              City                        State       ZIP Code



 s. Debtor's website (URL)




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Debtor      /nr
             Name
                                49u(r104s, 4tc                                               Case number (if known)


                                         C.Er-C-orporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         0 Partnership (excluding    LLP)
                                         0 Other. Specify:
                                         A. Check one:
 7. Describe debtor's business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         0 Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ENone of the above


                                         B.Check all that apply:

                                         0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                         0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                                                                                                                                   _
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.00v/four-dioit-national-association-naics-codes .



 8. Under which chapter of the           Check one:
    Bankruptcy Code is the
    debtor filing?                       O Chapter 7
                                         •    hapter 9
                                         O' Chapter 11. Check all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                    O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                       recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                        income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                              U.S.C. § 1116(1)(B).
     check the second sub-box.                             "The
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                            noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                            less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                            Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                            statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                            § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         0   Chapter 12




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Debtor       /eP/er                    ifik/1;04.          , /                                Case number (if known)
             Name   /


 9. Were prior bankruptcy cases             No
    filed by or against the debtor
    within the last 8 years?                         District lOr g -t t h       64       When   ayagD//07 017Case            number                       75"1
                                                                                                 MM            YY
     If more than 2 cases, attach a
     separate list.                                  District Abrikt , a       64         When 0/       0; 0 Case number
                                                                                               M / DD YYYY
                                                                                                                                       p o --(e0y3S-forh,

 10.Are any bankruptcy cases             a r No
    pending or being filed by a
    business partner or an               CI Yes.     Debtor                                                            Relationship
    affiliate of the debtor?                         District                                                          When
     List all cases. If more than 1,                                                                                                   MM / OD / YYYY
     attach a separate list.                         Case number, if known


 11.Why is the case filed in this       Check all that apply:
    district?
                                           'Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        LI A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have
     possession of any real              D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                    LI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?

                                                    D    It needs to be physically secured or protected from the weather.

                                                    LI It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                    1:1 Other



                                                    Where is the property?
                                                                                 Number       Street



                                                                                 City                                                 State ZIP Code


                                                    Is the property insured?
                                                    Li   No
                                                    0    Yes. Insurance agency

                                                                Contact name

                                                                Phone




III         Statistical and administrative information




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Debtor     ‘197 pk( 4cqUiS;ANK, Z/C                                                            Case number Of known)




 13.Debtor's estimation of               Check one:
    available funds                         5inds will be available for distribution to unsecured creditors.
                                         U PAfter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         LiK:49                             0 1,000-5,000                                0    25,001-50,000
 14.Estimated number of                  0 50-99                            0 5,001-10,000                               0    50,001-100,000
    creditors
                                         0 100-199                          0 10,001-25,000                              0    More than 100,000
                                         0 200-999

                                           $0-$50,000                           $1,000,001-$10 million                        $500,000,001-$1 billion
 15.Estimated assets                       $50,001-$100,000                     $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                         21100,0014500,000                      $50,000,001-$100 million                 LI   $10,000,000,001-$50 billion
                                           $500,001-$1 million                  $100,000,001-$500 million                0    More than $50 billion


                                         0 $0-$50,000                       O $1,000,001-$10 million                          $500,000,001-$1 billion
 16.Estimated liabilities                11 $50,001-$100,000                0 510,000,001-550 million                         $1,000,000,001-$10 billion
                                         lla $100,001-$500,000              0 $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                         0 $500,001-$1 million              0 $100,000,001-$500 million                  0    More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on


                                                                                                             MA -t:ri                      r;
                                            Signature of a   orized representative of debtor              Printed name

                                            Title        raikt,e, r




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Debtor      knipfer 4                           L1C                          Case number of known)
             Name




 18. Signature of attorney
                                                                                        Date
                               Signature of attorney for debtor                                      MM      / DD / YYYY




                              Printed name


                              Firm name


                              Number         Street


                              City                                                           State            ZIP Code



                              Contact phone                                                  Email address




                              Bar number                                                     State




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                                    CORPORATE RESOLUTION

                                 TEMPLER ACQUISITIONS, LLC.
                                     221 Edwards Drive
                                   Mableton, Georgia 30126




WHEREAS, TEMPLER ACQUISITIONS, LLC., is determined to grant signing authority to the
following person(s) described hereunder.

RESOLVED, that the Board of Directors is hereby authorized and approved to authorize and
empower the following individual to make, execute, endorse and deliver in the name of and on
behalf of the corporation, but shall not be limited to, any and all written instruments,
agreements, documents, execution of deeds, powers of attorney, transfers, assignments,
contracts, obligations, certificates and other instruments of whatever nature entered into by
this Corporation.



Name: MARTIAL FOTSE

Position/Title: MANAGER

Telephone Number: 678.754.0861



This resolution has been approved by the Board of Directors of TEMPLER ACQUISITIONS,
LIMITED LIABILITY CORPORATION on May 25, 2020.

I, as authorized by em.ler Acquisitions, LLC, hereby certify and attest that all the information
above is true an




MARTIAL FOTS                 MANAGER
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01262151 (RS) OF 05/26/2020


ITEM     CODE   CASE          QUANTITY                       AMOUNT   BY

   1     11IN   20-66657              1                      $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - TEMPLER ACQUISITIONS, LLC


TOTAL:                                                       $ 0.00


FROM: Templer Acquisitions, LLC
      221 Edwards Drive
      Mableton, GA 30126




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   Case Number: 20-66657                            Name: Templer Acquisitions, LLC                                                      Chapter: 11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

0 Individual - Series 100 Forms                                                               [E] Non-Individual - Series 200 Forms
MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
O Complete List of Creditors (names and addresses of all creditors)                           0 Last 4 digits of SSN
O Pro Se Affidavit (due within 7 days, signature must be notarized,                           O Address 0 County
or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                           O Type of Debtor
CI Signed Statement of SSN (due within 7 days)                                                0 Chapter
                                                                                              0 Nature of Debts
 MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         CI Statistical Estimates
 O Statement of Financial Affairs                                                             CI Venue
 O Schedules: A/B D E/ F G H                                                                  O Attorney Bar Number
 • Summary of Assets and Liabilities
 • Declaration About Debtor(s) Schedules
                                                                                                                        Case filed via:
 O Attorney Disclosure of Compensation
                                                                                                 El Intake Counter by:
 O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                                     O Attorney
 O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                                     O Debtor - verified ID
 O Chapter 13 Current Monthly Income
                                                                                                     • Other - copy of ID: Martial Fotse
 O Chapter 7 Current Monthly Income
                                                                                                                 Loi&- 1S/-O8(,!
 O Chapter 11 Current Monthly Income                                                             0 Mailed by:
 O Certificate of Credit Counseling (Individuals only)                                               O Attorney
 O Pay Advices (Individuals only) (2 Months)                                                         O Debtor
 O Chapter 13 Plan, complete with signatures (local form)                                            O Other:
 O Corporate Resolution (Business Ch. 7 & 11)
                                                                                                             Histor of Case Assoc don
 Ch.11 Business
 0 20 Largest Unsecured Creditors
                                                                                                 Prior cases within 2 years:
 0 List of Equity Security Holders
 121 Small Business - Balance Sheet
 0 Small Business - Statement of Operations                                                      Signature:
 IM Small Business - Cash Flow Statement                                                         Acknowledgment of rece                  eck list
     Small Business - Federal Tax Returns

 MISSING DOCUMENTS DUE WITHIN 30 DAYS
 O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       Z Paid $ 0   0 2g-Order Granting D 3g-Order Granting 7 days ($75 due within 7 days)
         LI 2d-Order Denying with filing fee of $                due within 7 days        0 IFP filed (Ch.7 Individuals Only)
         0   No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                    **Failure to Comply may result in the dismissal of your case.**
                                                   UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                            Atlanta, Georgia 30303
                                                                404-215-1000

Intake Clerk: r.smith                      Date: 5/26/20                        Case Opener:                                          Date:
